AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 District District
                                             __________   of Massachusetts
                                                                   of __________


                         D.V.D., et al.,                       )
                             Plaintiff                         )
                                v.                             )      Case No. 1:25-cv-10676-BEM
      U.S. Department of Homeland Security, et al.,            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Defendants.                                                                                                   .


Date:          04/01/2025                                                                /s/Elianis N. Perez
                                                                                         Attorney’s signature


                                                                                   Elianis N. Perez D.C. 983176
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                                 CERTIFICATE OF SERVICE
        I, Elianis N. Perez, Assistant Director, hereby certify that this document filed through
the ECF system will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants.
                                                                        /s/ Elianis N. Perez
                                                                        ELIANIS N. PEREZ
Dated: April 1, 2025                                                    Assistant Director
